                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE




UNITED STATES OF AMERICA,                              )
                                                       )
v.                                                     )     No. 3:05-CR-142
                                                       )     (Phillips)
ROBERT L. SMITH                                        )



                                        ORDER

             By order entered May 8, 2006, defendant was committed for a mental health

evaluation to determine his competence to stand trial and mental state at the time of the

charged offense. Defendant arrived at the Federal Medical Center in Lexington, Kentucky,

on June 23, 2006 for the evaluation. Due to the large number of evaluations received at

the facility, the FMC Lexington has requested additional time to complete the report.



             The FMC Lexington’s request for additional time to complete the evaluation

of defendant is GRANTED. Defendant’s commitment at FMC Lexington is extended to

August 22, 2006.



                                         ENTER:


                                               s/ Thomas W. Phillips
                                             United States District Judge




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